       Case 4:21-cr-06028-MKD          ECF No. 116     filed 02/14/22     PageID.786 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,                            Case No. 4:21-CR-6028-MKD-2
                                                              4:21-CR-6030-MKD-1
                          Plaintiff,
                                                     CRIMINAL MINUTES
           vs.
                                                     DATE: 2/14/2022
OSCAR CHAVEZ-GARCIA,
                                                     LOCATION: Richland
                          Defendant.
                                                     PRETRIAL CONFERENCE




                                        JUDGE MARY K DIMKE

Linda Hansen                   LC 03                                  N/A      Ronelle Corbey

Courtroom Deputy               Law Clerk                        Interpreter    Court Reporter

Stephanie A Van Marter                                Roger J Peven

Plaintiff’s Counsel                                   Defendant’s Counsel

   [ X ] Open Court – Video Conference                   [ ] Probation:

   Defendant is present by video conference from the Spokane County Jail, in custody of the US Marshal.
   All counsel present via video conference.

   The defendant agreed to conduct the hearing via video conference. No objection by the parties to
   conducting the hearings individually.

   Motion before the Court: ECF No. 106, Motion to Join Continuance re: Motion to Continue Pretrial, Trial
   and Extend Deadline to File Pretrial Motions, ECF No. 103 in 4:21-CR-6028-MKD-2; and Motion to
   Continue Trial ECF No. 50 in 4:21-CR-6030-MKD-1.

   Roger Peven addressed the Court regarding the motion to continue and advised there is no objection to
   adjusting dates in the Case Management Order as requested by the Government.

   The Court confirmed that the defendant agrees to the continuance of both matters and has executed a
   written waiver of speedy trial, which has been filed at ECF No. 112 and ECF No. 51 in the respective
   cases.

   The Court GRANTED the defendant’s motion for continuance in 4:21-CR-6028-MKD-2, making ends of
   justice findings. The Jury Trial of 3/14/2022 is STRICKEN and RESET to 5/23/2022 at 9:00 AM in
   Richland. A Pretrial Conference is set for 5/5/2022 at 1:30 PM in Richland.
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    The Court GRANTED the defendant’s motion for continuance in 4:21-CR-6030-MKD-1, making ends of
    justice findings. The Jury Trial of 3/14/2022 is STRICKEN and RESET to 6/6/2022 at 9:00 AM in
    Richland. A Pretrial Conference is set for 5/19/2022 at 11:00 AM in Richland.



 CONVENED: 11:03 AM         ADJOURNED: 11:15 AM       TIME: 12 MINS      [ X] ORDER FORTHCOMING
